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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


UNITED STATES OF AMERICA,

      Plaintiff,
                                              Case No. 13-20348
v.
                                              Hon. John Corbett O’Meara
D-1 CHARLES MCRAE,
D-2 CECIL KENT, JR.,
D-3 ALVIN WILLIAMS,

     Defendants.
_______________________________/


                         ORDER GRANTING MOTION
                            TO ADJOURN TRIAL

      Before the court is Defendant Charles McRae’s motion to adjourn trial, filed

September 6, 2015. Trial is currently scheduled for September 28, 2015.

Defendant’s counsel, Patrick Cleary, seeks an adjournment of sixty days because

of his health condition. Defendant Cecil Kent, Jr., concurs in this request, and

suggests a new date after November 16, 2015, as a result of his attorney’s trial

schedule. Defendant Alvin Williams continues to seek a severance as a result of

his own health condition. The government has expressed concern regarding the

adjournments in this matter and requests that trial be rescheduled for October 27,

2015, with no further delays permitted.
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      The court finds that the interests of justice require that trial be adjourned,

because attorney Cleary is unable to proceed. The new trial date is April 11, 2016.

The time period between the date of this order and April 11, 2016, shall be

considered excludable delay pursuant to 18 U.S.C. § 3161, as the ends of justice

served by this delay outweigh the interests of Defendants and the public in a

speedy trial. The court will again deny Defendant Williams’s motion for severance

without prejudice, to be revisited closer to the new trial date. Williams may

provide a supplemental brief regarding his medical condition by March 21, 2016,

and the government shall respond by March 28, 2016.

      SO ORDERED.

                                        s/John Corbett O’Meara
                                        United States District Judge
Date: September 22, 2015



      I hereby certify that a copy of the foregoing document was served upon
counsel of record on this date, September 22, 2015, using the ECF system.


                                        s/William Barkholz
                                        Case Manager




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